  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.2 Filed 08/31/23 Page 1 of 11




                 CONTINUATION OF CRIMINAL COMPLAINT
      I, Heather Williamson, being duly sworn, state as follows:
                                    Introduction
      1.     This continuation of a criminal complaint is made to authorize the arrest

of DANIELLE LENA-MARY JONES for possession with intent to distribute a

mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),

on or about August 30, 2023, in Ionia County, in the Western District of Michigan.

This continuation is made for the limited purpose of establishing probable cause and

does not include each and every fact known by me.

      2.     I am a Special Agent of the Drug Enforcement Administration (“DEA”)

and have been so employed since January 2013. I am currently assigned to the Grand

Rapids District Office. Previously, I was assigned to the Southwest Border Initiative

Group-3 (“SWB-3”) and to the Los Angeles Strike Force for approximately six years.

The Los Angeles Strike Force is an investigative group jointly led by the DEA and

the FBI, and composed of several other federal, state, and local agencies that is

focused on the disruption of the Mexico-based Sinaloa Cartel. Prior to working as a

DEA Special Agent, I completed 20 weeks of training at the DEA Academy in

Quantico, Virginia, which included instruction in narcotics identification, detection,

trafficking, and interdiction; money laundering techniques; asset identification,

seizure, and forfeiture; and techniques used by narcotics traffickers to avoid detection

by law enforcement officials.    I have investigated drug trafficking organizations

involved in violating various federal laws, including, but not limited to, unlawful


                                           1
  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.3 Filed 08/31/23 Page 2 of 11




importation of controlled substances; the distribution of controlled substances;

manufacturing of controlled substances; and possession with intent to distribute

controlled substances, including cocaine, methamphetamine, heroin, and other

dangerous drugs; as well as money laundering. I have participated in investigations

of unlawful drug trafficking and money laundering and, among other things, have

conducted or participated in surveillance; execution of search warrants; debriefings

of informants; reviewing of taped conversations and drug records; and have

participated in investigations that include the interception of wire communications.

      3.     Through my training, education, and experience, I have become familiar

with the manner in which illegal drugs are transported, stored, and distributed, the

methods of payment for such drugs, the laundering of narcotics proceeds, and the

dialect (lingo) and coded language used by narcotics traffickers. In connection with

my duties, I investigate criminal violations of the federal and state controlled

substance laws, including, but not limited to, conspiracy and attempt to possess with

intent to distribute and to distribute controlled substances, in violation of Title 21,

United States Code, Section 846; possession with intent to distribute and distribution

of controlled substances, in violation of Title 21, United States Code, Section

841(a)(1); use of communication facilities to facilitate drug trafficking offenses, in

violation of Title 21, United States Code, Section 843(b); and offenses involving money

laundering as well as conspiracy and attempt to do the same, in violation of Title 18,

United States Code, Sections 1956 and 1957. Many of these investigations also




                                          2
   Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.4 Filed 08/31/23 Page 3 of 11




involve firearms offenses, including violations of Title 18, United States Code,

Sections 922 and 924.

      4.     The information in this criminal complaint is based on my personal

knowledge gained from my participation in this investigation, and information

received from other law enforcement officers who have been involved in this

investigation.

      5.     I respectfully submit that the facts set forth in this criminal complaint

establish probable cause to believe that on or about August 30, 2023, in Ionia County,

in the Southern Division of the Western District of Michigan, JONES knowingly and

intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C).

                                   Probable Cause

      6.     Since at least early 2023, the DEA, the Michigan State Police (“MSP”),

and the MSP-sponsored Southwest Enforcement Team (“SWET”) and Central

Michigan Enforcement Team (“CMET”) have been investigating MICHAEL

THOMAS, a/k/a “Money,” and his associates, known and unknown, for drug

trafficking crimes in the Western District of Michigan, including Kent County and

Ionia County.

      7.     THOMAS is 37 years old, and his criminal history includes state

convictions for misdemeanor traffic violations, possession of marijuana, domestic

violence, and felony convictions for delivery/manufacture controlled substance –



                                            3
   Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.5 Filed 08/31/23 Page 4 of 11




cocaine or heroin less than 50 grams, possession of a controlled substance – cocaine

or heroin less than 25 grams, 3rd degree home invasion, possession of a firearm by a

felon,    resisting/obstructing/assault   of       a   police   officer,   and   possession   of

methamphetamine/ecstasy. THOMAS has pending felony drug and firearm charges

in Kent County Circuit Court with a trial date of September 11, 2023.

         8.    DANIELLE LENA-MARY JONES is 32 years old and does not appear

to have any prior criminal convictions. JONES is the half-sister of THOMAS.

         9.    On March 8, 2023, CMET and SWET detectives utilized a confidential

informant1 (CI) to purchase methamphetamine and heroin from THOMAS at 660 56th

Street, Apartment #7, Grand Rapids, Michigan. CI bought approximately one ounce

of methamphetamine and 4 grams of heroin from THOMAS.

         10.   On May 1, 2023, CMET and SWET detectives again utilized CI to

purchase methamphetamine from THOMAS at 660 56th Street, Apartment #7, Grand

Rapids, Michigan. This time, CI bought approximately 4 ounces of methamphetamine

from THOMAS. When the CI arrived at the apartment, a black female was present

and actually handed the methamphetamine to the CI. THOMAS was communicating

with the CI over an electronic doorbell device. After the controlled purchase was

complete, investigators saw a black Buick Lacrosse that belongs to THOMAS’s

girlfriend, VICENTA MICHEL (also known to investigators as “Nadia Michel” via




1 Investigators believe CI is credible and reliable through controlled purchases of

narcotics and information that has led to the arrest of larceny suspects.
                                               4
  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.6 Filed 08/31/23 Page 5 of 11




Facebook), leave the apartment complex and go back to another address in Grand

Rapids where investigators believe THOMAS stays part time.

      11.    Based on my training and experience, it is common for drug dealers to

use middlemen, intermediaries, or couriers to make drug sales or drug pick-ups to

avoid law enforcement detection. Based on my participation in this investigation, as

shown in the May 1 controlled purchase, THOMAS uses other individuals, often

women, to make drug sales or to pick up drugs for him to avoid law enforcement

detection.

      12.    Throughout the investigation, during physical surveillance of THOMAS

at 660 56th Street, Grand Rapids, Michigan, investigators have seen a blue 2020

Subaru Legacy, Michigan registration EGC6453, registered to THOMAS at that

address (“the Subject Vehicle”).

      13.    On March 17, 2023, a state court search warrant was authorized for the

installation of a GPS tracking device on the Subject Vehicle. The warrant was

reauthorized on August 15, 2023.

      14.    In the afternoon of August 30, 2023, through state court-authorized GPS

monitoring of the Subject Vehicle, investigators learned that the Subject Vehicle was

traveling from the Grand Rapids area towards Detroit. Based on prior surveillance of

THOMAS and the Subject Vehicle, and my training and experience and the training

and experience of other law enforcement officers involved in the investigation,

investigators believed that the Subject Vehicle was traveling to Detroit to acquire a

new supply of controlled substances for further distribution.



                                          5
  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.7 Filed 08/31/23 Page 6 of 11




      15.       At approximately 6:56 p.m., through both GPS monitoring of the Subject

Vehicle and physical surveillance by law enforcement officers, investigators saw the

Subject Vehicle stop at 15285 Young Street, Detroit, Michigan.

      16.       After the Subject Vehicle stopped, a female, later identified as JONES,

exited the driver’s seat of the Subject Vehicle and walked inside the residence at

15285 Young Street, Detroit, Michigan.

      17.       Minutes later, investigators saw JONES leave the residence and get

back into the Subject Vehicle and drive away. The Subject Vehicle was stopped at the

residence for no more than three minutes.

      18.       Immediately after leaving the residence, the Subject Vehicle started

“cleaning,” a technique that is designed to evade law enforcement detection and

surveillance.

      19.       Eventually, the Subject Vehicle got on the interstate and started

traveling west away from Detroit back towards the Western District of Michigan.

Investigators continued surveillance of the Subject Vehicle as it passed Lansing and

entered Ionia County on westbound Interstate 96, within the Western District of

Michigan.

      20.       Around mile marker 64 on westbound Interstate 96, at approximately

8:59 p.m., a marked MSP unit performed a traffic stop on the Subject Vehicle for no

insurance, improper window tint, and an obstruction on the rearview mirror.




                                            6
  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.8 Filed 08/31/23 Page 7 of 11




      21.    The MSP Trooper made contact with JONES, the driver and sole

occupant of the Subject Vehicle, and advised JONES of the reason for the traffic stop.

It was readily apparent to the MSP Trooper that JONES was extremely nervous.

      22.    JONES told the Trooper that it was her brother’s vehicle. JONES was

not able to produce valid insurance for the Subject Vehicle.

      23.    When asked where she was coming from, JONES stated that she was

visiting her boyfriend all day in Detroit, but she declined to provide her boyfriend’s

address. JONES said she is from Grand Rapids and left for Detroit earlier in the

morning after dropping her daughter off at school around 7:20 a.m. When asked what

she did with her boyfriend in Detroit, JONES said they just hung out at the house,

and said she would have stayed longer but she had to work tomorrow. JONES stated

she works for Allegiant Airlines.

      24.    JONES declined to give consent for the MSP Trooper to search the

Subject Vehicle. The MSP Trooper informed JONES that a K-9 Trooper trained to

detect controlled substances was going to perform a free-air sniff for the odor of

narcotics around the exterior of the Subject Vehicle.

      25.    While running the K-9 Trooper around the exterior of the Subject

Vehicle, the K-9 Trooper gave a positive indication for the odor of narcotics near the

rear passenger door of the Subject Vehicle.

      26.    The MSP Trooper subsequently searched the Subject Vehicle and found

a backpack on the floorboard of the rear passenger seat, right where the K-9 Trooper

gave a positive alert. Inside the backpack, the MSP Trooper found five individually



                                          7
  Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.9 Filed 08/31/23 Page 8 of 11




wrapped bundles of a substance that later field tested positive for methamphetamine,

a Schedule II controlled substance, and weighed approximately 11 pounds in total

with packaging. Approximately $1,400 U.S. currency was seized from JONES’ wallet.




                                         8
Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.10 Filed 08/31/23 Page 9 of 11




                                   9
Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.11 Filed 08/31/23 Page 10 of 11




                                   10
 Case 1:23-mj-00395-PJG ECF No. 1-1, PageID.12 Filed 08/31/23 Page 11 of 11




      27.       JONES denied knowledge of the backpack or its contents and declined

to answer questions from law enforcement.

      28.       While still on the shoulder of westbound Interstate 96, in the middle of

the traffic stop, VICENTA MICHEL arrived on scene and told investigators that a

friend had texted her and told her that JONES was pulled over near Ionia and needed

help. Based on surveillance and social media posts, investigators believe that

MICHEL is a girlfriend of THOMAS.

      29.       Based on my training and experience, 11 pounds of methamphetamine

is a distribution quantity that was intended to be broken down for further

distribution.

      30.       JONES was arrested on state charges for driving without insurance and

possession with the intent to distribute methamphetamine and lodged at the Ionia

County Jail.

                                       Conclusion

      31.       Based on the above information, there is probable cause to believe that

on or about August 30, 2023, in Ionia County, in the Western District of Michigan,

JONES knowingly and intentionally possessed with intent to distribute a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C).




                                            11
